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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JOANNA BURKE and JOHN BURKE,                             §
                                                          §
          Plaintiffs,                                     §
                                                          §
 v.                                                       §                       Civil Action No. 4:21-cv-2591
                                                          §
 OCWEN LOAN SERVICING, LLC,                               §
 MARK DANIEL HOPKINS, SHELLEY                             §
 HOPKINS, and HOPKINS LAW, PLLC,                          §
                                                          §
          Defendants.                                     §

      ATTORNEY DEFENDANTS' CERTIFICATE OF INTERESTED PARTIES AND
                  CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, Mark Daniel Hopkins, Shelley Hopkins,

and Hopkins Law, PLLC ("Attorney Defendants") file this Certificate of Interested Parties and

Corporate Disclosure Statement and state as follows:

         1.      Joanna Burke – Plaintiff. Joanna Burke is an individual who resides in Harris

County, Texas.

         2.      John Burke, Harris County, Texas – Plaintiff. John Burke is an individual who

resides in Harris County, Texas.

         3.      Ocwen Loan Servicing, LLC – Defendant. Ocwen Loan Servicing, LLC merged

with Defendant PHH Mortgage Corporation, a New Jersey corporation, On June 1, 2019, with

PHH Mortgage Corporation surviving the merger. 100% of the common stock of PHH Mortgage

Corporation is owned by PHH Corporation, a Maryland Corporation. 100% of the common stock

of PHH Corporation is owned by Ocwen Financial Corporation, a Florida corporation. Ocwen

Financial Corporation is a publicly traded company with no entity owning more than 10% of its

stock.

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        4.       Mark Daniel Hopkins – Defendant. Mark D. Hopkins is an individual who resides

in Travis County, Texas.

        5.       Shelley Hopkins – Defendant. Shelley Hopkins is an individual who resides in

Travis County, Texas

        6.       Hopkins Law, PLLC – Defendant. Hopkins Law, PLLC is a Texas Private Limited

Liability Company that has its place of business in Travis County, Texas.

        7.       Mark D. Hopkins and Shelley L. Hopkins, Hopkins Law, PLLC, 3 Lakeway Centre

Ct., Suite 110, Austin, Texas 78734, (512) 600-4320 – Counsel for Defendants.

                                                     Respectfully submitted,

                                                     HOPKINS LAW, PLLC

                                                     By:      /s/ Mark D. Hopkins
                                                              Mark D. Hopkins – Attorney in Charge
                                                              State Bar No. 00793975
                                                              SD ID No. 20322
                                                              Shelley L. Hopkins
                                                              State Bar No. 24036497
                                                              SD ID No. 92646
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                                                              ATTORNEYS FOR DEFENDANTS




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                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of September 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

VIA CM/RRR # 7021 0350 0001 0095 2586
AND VIA REGULAR MAIL:
John Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339
PRO SE PLAINTIFF

VIA CM/RRR # 7021 0350 0001 0095 2593
AND VIA REGULAR MAIL:
Joanna Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339
PRO SE PLAINTIFF
                                                              /s/ Mark D. Hopkins
                                                              Mark D. Hopkins




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